       Case 2:06-cr-00319-JLR          Document 197   Filed 12/06/06    Page 1 of 2



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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE
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11   UNITED STATES,
12                        Plaintiff,
                                                          CASE NO. CR06-319JLR
13          v.
14
                                                          ORDER
     QUOC TRUNG LE, et al.
15
                          Defendants.
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17          This matter comes before the court on Defendant San Thi Le’s Motion for
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     Severance (Dkt. # 172), Defendant Chinda Tes’s Motion to Join Motion to Sever
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     Defendants (Dkt. # 178), and Defendant Kim Ahn Hoang’s Motion for Severance (Dkt.
20
     # 179). The court refers to these three defendants collectively as “the Moving
21
22   Defendants.”

23          There are seventeen defendants in this matter. Fourteen defendants are named in
24   Count 1 related to drug trafficking. These fourteen defendants are also named in the
25   conspiracy to engage in the money laundering allegations of Count 2 along with the
26   Moving Defendants. The allegedly illegal source of the funds involved in the money
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     laundering conspiracy is drug trafficking.
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     ORDER – 1
       Case 2:06-cr-00319-JLR       Document 197       Filed 12/06/06    Page 2 of 2



            As a general matter, defendants who are jointly charged are jointly tried. United
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 2   States v. Gay, 567 F.2d 916, 919 (9th Cir. 1978). The Ninth Circuit has held that this

 3   principle applies in conspiracy cases. United States v. Marsical, 939 F.2d 884, 885 (9th
 4   Cir. 1991); United States v. Escalante, 637 F.2d 1197, 1201 (9th Cir. 1980). At this time,
 5   the Moving Defendants have not established a significant risk that a joint trial would
 6
     prejudice their respective rights. See United States v. Gonzalez, 749 F.2d 1329, 1333
 7
     (9th Cir. 1984). The court therefore DENIES the Moving Defendants’ motions to sever
 8
     (Dkt. ## 172, 178, 179).
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            Dated this 6th day of December, 2006.
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13                                             A
                                               JAMES L. ROBART
                                               United States District Judge
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     ORDER – 2
